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                            UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

   In Re: ADA Cases                                                 6:18-mc-14-Orl-31DCI


                                                 ORDER
          On November 13, 2018, Magistrate Judge Irick issued a Report and Recommendation in

   this case (Doc. 46). In part, Judge Irick recommended that the Order to Show Cause be

   discharged as to Barry Mittleberg, Nadine Brown, Ayesa Conger, Andrew C. Enfield, Aaron

   Finesilver, and Eric Matthew Rodriguez (Id., p. 21). There being no objection to this portion of

   the Report and Recommendation, it is

          ORDERED that the Order to Show Cause (Doc. 4) is hereby DISCHARGED as to these

   parties, with no further action to be taken against them.

          DONE and ORDERED in Chambers, Orlando, Florida on December 4, 2018.




   Copies furnished to:

   Counsel of Record
   Unrepresented Party
